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To:            Shannon Rushton
CC:            Jess Dickinson, Kris Jones, Tonya Rogillio, Jaworski Davenport
Date:          July 2, 2019
Re:            Hiring Caseload Carrying Staff and Supervisors




Since December 2017, our hiring has been limited to backfilling vacated positions due to funding constraints.
Yesterday, our new state fiscal year began, and increased state funding now allows us to grow the caseload
carrying workforce. Beginning effective with today's hiring meeting, each preservice training class may be
filled with forty new hires of caseload carrying staff. Hiring still should be prioritized based on staffing needs,
but every effort should be made to fill each class to capacity. One supervisor may be added for each five
caseload carrying staff hired. All prioritization and hiring decisions should be based on data and specific
explanations of staffing needs.
In addition, for all positions that are not caseload carrying staff or their supervisors, all departures may be
backfilled, but no new staff may be added without the approval ofthe Executive Leadership Team.
Please distribute this to any of your staff that has input into these hiring decisions.




                                                                                                   EXHIBIT

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